                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION - DETROIT


IN THE MATTER OF:                                           CHAPTER 13
AARON MOHLMAN                                               CASE NO: 22-46215
CHARLOTTE S DOBESSI-BOSSOMBO, Debtors                       JUDGE THOMAS J. TUCKER




                             TRUSTEE’S OBJECTION TO
                         CONFIRMATION OF CHAPTER 13 PLAN


       NOW COMES, the Chapter 13 Trustee, Tammy L. Terry, and objects to confirmation of
the Chapter 13 Plan in the above matter pursuant to E.D. Mich. L.B.R. 3015-3(a) and 11 U.S.C.
§1307(c)(5) as follows:

      1.    The Trustee objects to the debtors’ failure to treat a secured proof of claim filed by
Gary Deak. The Trustee requests that the debtors amend the plan accordingly.

        2.     The spouse provided recent payment advices that indicates that she earns
approximately $10,000.00 gross a month, which is more than the $8,242.00 disclosed on
Schedule I. The Trustee request that the debtors amend Schedules I and J and increase best
effort accordingly.

       3.     The debtor’s Plan fails to provide that all of the debtor’s projected disposable
income be utilized to fund the Plan. Specifically, the debtor’s Schedule J has overstated the
following expense(s) in contravention of 11 U.S.C. 1325(a)(3) and/or 11 U.S.C. 1325(b):

               a.     Childcare - $800.00
               b.     Vehicle insurance - $350.00

        The Trustee requests that the debtor provide proof of these expenses within fourteen
days.

        4.    The debtor testified at the §341 First Meeting of Creditors that he had job
interviews in the recent months. The Trustee requests an update at confirmation and/or
amended Schedules I and J at any point in time the debtor becomes employed during the life of
the plan.




   22-46215-tjt     Doc 25    Filed 10/04/22     Entered 10/04/22 11:32:04       Page 1 of 3
        WHEREFORE, the Chapter 13 Trustee requests this Honorable Court deny confirmation
of the debtor’s (s’) Chapter 13 Plan.


9/29/2022                  OFFICE OF THE CHAPTER 13 TRUSTEE - DETROIT
                           /S/ TAMMY L. TERRY
                           Chapter 13 Standing Trustee
                           /S/ KIMBERLY SHORTER-SIEBERT (P49608)
                           /S/ MARILYN R. SOMERS-KANTZER (P52488)
                           Staff Attorneys
                           535 Griswold Street, Suite 2100
                           Detroit, MI 48226
                           (313) 967-9857
                           mieb_ecfadmin@det13.net




   22-46215-tjt   Doc 25   Filed 10/04/22   Entered 10/04/22 11:32:04     Page 2 of 3
                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION - DETROIT


IN THE MATTER OF:                                         CHAPTER 13
AARON MOHLMAN                                             CASE NO: 22-46215
CHARLOTTE S DOBESSI-BOSSOMBO, Debtors                     JUDGE THOMAS J. TUCKER



                                 CERTIFICATE OF MAILING


       I hereby certify that on 10/03/2022, a copy of TRUSTEE’S OBJECTIONS TO
CONFIRMATION OF CHAPTER 13 PLAN was electronically filed with the Clerk of Court,
served electronically to the debtor’s(s’) attorney and a copy of same deposited in the U. S.
Mail to the debtor (s) at the address as it appears below.



                                OFFICE OF THE CHAPTER 13 TRUSTEE - DETROIT
                                /S/ PATRICE WATSON
                                Chapter 13 Standing Trustee Clerk
                                535 Griswold Street, Suite 2100
                                Detroit, MI 48226
                                (313) 967-9857
                                mieb_ecfadmin@det13.net


THAV LAW OFFICE, PLLC
30150 TELEGRAPH RD., SUITE 444
BINGHAM FARMS, MI 48025


AARON MOHLMAN
CHARLOTTE S DOBESSI-BOSSOMBO
15507 BROOKFIELD
LIVONIA, MI 48154




   22-46215-tjt   Doc 25     Filed 10/04/22    Entered 10/04/22 11:32:04      Page 3 of 3
